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                    EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 TELEBRANDS CORPORATION,                          ) Case No. 1:23-cv-00631-BMB
                                                  )
                Plaintiff,                        ) Judge Bridget Meehan Brennan
                                                  )
         v.                                       )
                                                  )
 WINSTON PRODUCTS LLC,                            )
                                                  )
                Defendant.                        )

                  DEFENDANT WINSTON PRODUCTS LLC’S
          RESPONSES TO PLAINTIFF’S FIRST SET OF INTERROGATORIES

       Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendant Winston Products LLC

(“Winston”), by and through its undersigned counsel, responds to Plaintiff Telebrands

Corporation’s (“Plaintiff” or “Telebrands”) First Set of Interrogatories as follows:

                              INTRODUCTORY STATEMENT

       Winston’s investigation into this matter is ongoing, and discovery in this case has just

begun. Winston’s responses are therefore limited by its current understanding of the facts in this

case. Winston expressly reserves the right to supplement its responses to Plaintiff’s First Set of

Interrogatories in accordance with Fed. R. Civ. P. 26(e), and the objections set forth herein are

made without prejudice to Winston’s right to assert any additional or supplemental objections

pursuant to Fed. R. Civ. P. 26(e).

       Winston makes the following objections to each definition and instruction in Plaintiff’s

First Set of Interrogatories to Winston. These objections are hereby incorporated into each specific

response. The assertion of the same, similar, or additional objections or partial responses to

individual interrogatories does not waive any of Winston’s objections to each definition and

instruction.

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INTERROGATORY NO. 1:

      Identify all model names and numbers that Winston has used to identify or refer to each

      Accused Product.

RESPONSE:

      Winston hereby identifies the following base model names and numbers regarding the

Accused Products:

   1. Model Name: Expandable Burst Proof Hose, 5/8” diameter – Blue

      Model Number: 8988

   2. Model Name: Expandable Burst Proof Hose, 5/8” diameter – Green

      Model Number: 8989

   3. Model Name: Expandable Burst Proof Hose, 5/8” diameter – Orange

      Model Number: 8990

   4. Model Name: Expandable Burst Proof Hose, 5/8” diameter – Yellow

      Model Number: 8991

   5. Model Name: Expandable Burst Proof Hose, 5/8” diameter – Red

      Model Number: 8997

   6. Model Name: Pro Series Max-Flow Hose, 3/4” x 50’

      Model Number: 5558

   7. Model Name: Pro Series Expandable Burst Proof Hose, 3/4” x 75’

      Model Number: 5593

   8. Model Name: Pro Series Max-Flow Hose, 3/4” x 100’

      Model Number: 5560



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9. Model Name: Pro Series Max-Flow Hose, 3/4” x 200’

   Model Number: 5505

10. Model Name: 5/8” x 25’ Expandable Burst Proof Hose – Blue

   Model Number: 8988C4

11. Model Name: 5/8” x 75’ Expandable Burst Proof Hose – Orange

   Model Number: 8990C3

12. Model Name: 5/8” x 100’ Expandable Burst Proof Hose – Yellow

   Model Number: 8991C3

13. Model Name: 5/8” x 50’ Expandable Burst Proof Hose – Green

   Model Number: 8989C3

14. Model Name: 5/8” x 50’ Expandable Burst Proof Hose – Green

   Model Number: 5489C4

15. Model Name: 5/8” x 75’ Expandable Burst Proof Hose – Orange

   Model Number: 5490C4

16. Model Name: 5/8” x 100’ Expandable Burst Proof Hose – Yellow

   Model Number: 5491C4

17. Model Name: 5/8” x 25’ Expandable Burst Proof Hose – Blue

   Model Number: 8988C9

18. Model Name: Pro Series 3/4” x 50’ Expandable Max Flow Hose – Green

   Model Number: 5558C3

19. Model Name: Pro Series 3/4” x 100’ Expandable Max Flow Hose – Yellow

   Model Number: 5560C3

20. Model Name: Pro Series 3/4” x 75’ Expandable Max Flow Hose – Orange



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        Model Number: 5593C3

    21. Model Name: Pro Series 3/4” x 200’ Expandable Max Flow Hose - Red

        Model Number: 5595C3

    22. Model Name: 5/8” x 100’ Expandable Burst Proof Hose - Yellow

        Model Number: 6091C4

    23. Model Name: 5/8” x 200’ Expandable Burst Proof Hose- Red

        Model Number: 8997C3

    24. Model Name: 5/8” x 200’ Expandable Burst Proof Hose- Red

        Model Number: 8995

    25. Model Name: 5/8” x 75’ Expandable Burst Proof Hose - Orange

        Model Number: 6090C4

    26. Model Name: 5/8” x 50’ Expandable Burst Proof Hose - Green - 40 pc Stack Out

        Model Number: 8989SO4


INTERROGATORY NO. 2:

        Identify each model name and number that Winston has used to identify or refer to each

        product offered for sale or sold by Winston with each Accused Product, such as, for

        example, if a nozzle or sprayer was sold together with an Accused Product.

RESPONSE:

        Winston objects that this interrogatory is overly broad and not sufficiently tailored to the

issues in dispute. Specifically, the inclusion of all products “offered for sale or sold by Winston

with each Accused Product,” is beyond the scope of the litigation and not relevant to any claim or

defense in the litigation.



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                                        VERIFICATION
I, ________________, declare as follows:

       I have read Defendant Winston Products LLC’s Responses to Plaintiff Telebrands

Corporations’ First Set of Interrogatories. I am authorized to sign the Responses on behalf of

Defendant Winston Products LLC. Based on information and belief, I believe the above answers

are true and correct, subject to Defendant’s right to supplement its discovery responses should it

learn of additional responsive information.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this __ day of ________________ 2023.



                                                                     By: _____________________




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     As to objections:


Dated: December 14, 2023              By: /s/Nicholas Clifford
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                             CERTIFICATE OF SERVICE

      Pursuant to Fed. R. Civ. P. 5(b)(2)(E), the foregoing was served via email on

December 14, 2023, upon:

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                           Counsel for Plaintiff Telebrands Corporation



                                                 /s/ Nicholas Clifford
                                                 One of the attorneys for Defendant Winston
                                                 Products LLC




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